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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

                                                           03-md-1570 (GBD)(SN)
 In re Terrorist Attacks on September 11, 2001
                                                           ECF Case

 This document relates to:
                                                           15-cv-9903 (GBD)(SN)
 Thomas Burnett, Sr., et al. v. The Islamic
                                                           ECF Case
 Republic of Iran, et al.

          [PROPOSED] ORDER OF PARTIAL FINAL DEFAULT JUDGMENTS
                  ON BEHALF OF BURNETT/IRAN PLAINTIFFS

                                   (BURNETT / IRAN XXVIII)

        Upon consideration of the evidence and arguments submitted by Plaintiffs identified in

Exhibits A and B to this Order, plaintiffs in Burnett, et al. v. Islamic Rep. of Iran, et al., Case No.

15-cv-9903 (GBD)(SN), who are each a spouse, parent, child, or sibling (or the estate of a spouse,

parent, child, or sibling) of a victim killed in the terrorist attacks on September 11, 2001 (as

identified on Exhibit B), or the estate of an individual who was killed in the terrorist attacks on

September 11, 2001 (as identified on Exhibit C), and the Judgment by Default for liability only

against the Islamic Republic of Iran, the Islamic Revolutionary Guard Corps, and the Central Bank

of the Islamic Republic of Iran (collectively, the “Iran Defendants”) entered on January 31, 2017

(15-cv-9903, ECF No.85), together with the entire record in this case, it is hereby;

        ORDERED that service of process was effected upon the Iran Defendants in accordance

with 28 U.S.C. § 1608(a) for sovereign defendants and 28 U.S.C. § 1608(b) for agencies and

instrumentalities of sovereign defendants;

        ORDERED that partial final judgment is entered against the Iran Defendants and on behalf

of the Plaintiffs in Burnett, et al. v. Islamic Rep. of Iran, et al., Case No. 15-cv-9903 (GBD)(SN),

as identified in the attached Exhibit B, who are each a spouse, parent, child, or sibling (or the estate
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of a spouse, parent, child, or sibling) of individuals killed in the terrorist attacks on September 11,

2001, as indicated in Exhibit B, and it is

        ORDERED that Plaintiffs identified in Exhibit B are awarded: solatium damages of

$12,500,000 per spouse, $8,500,000 per parent, $8,500,000 per child, and $4,250,000 per sibling,

as set forth in Exhibit B; and it is

        ORDERED that partial final judgment is entered against the Iran Defendants and on behalf

of the Plaintiffs in Burnett, et al. v. Islamic Rep. of Iran, et al., Case No. 15-cv-9903 (GBD)(SN),

as identified in the attached Exhibit C, who are each the estate of a victim of the terrorist attacks

on September 11, 2001, as indicated in Exhibit C, and it is

        ORDERED that Plaintiffs identified in Exhibit C are awarded: compensatory damages for

decedents’ pain and suffering in an amount of $2,000,000 per estate, as set forth in Exhibit C (to

the extent not previously so awarded); and it is

        ORDERED that Stan V. Smith is qualified as an expert to opine on the economic losses

of those decedents included on Exhibit C who are seeking economic-loss damages in this motion;

and it is

        ORDERED that opinions of Plaintiffs’ expert Stan V. Smith are accepted and those estates

for whom economic-loss damages are sought on Exhibit C are awarded the damages as set forth

on Exhibit C as supported by the reports and analyses provided by Plaintiffs’ expert; and it is

        ORDERED that Plaintiffs identified in Exhibits B and C are awarded prejudgment interest

of 4.96 percent per annum, compounded annually, running from September 11, 2001 until the date

of judgment; and it is

        ORDERED that Plaintiffs identified in Exhibits B and C may submit an application for

punitive damages, economic damages, or other damages (to the extent such awards have not



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previously been ordered) at a later date consistent with any future rulings made by this Court on

this issue; and it is

        ORDERED that the remaining Burnett/Iran Plaintiffs not appearing on Exhibits B or C,

may submit in later stages applications for damages awards, and to the extent they are for solatium

or by estates for compensatory damages’ for decedents’ pain and suffering from the September 11

attacks, they will be approved consistent with those approved herein for the Plaintiffs appearing

on Exhibits B and C.

        Furthermore, the Court respectfully directs the Clerk of the Court to terminate the motion

at ECF No. 9646 in 03-MDL-1570 (GBD)(SN) and ECF No. 687 in 15-cv-9903 (GBD)(SN).

Dated: New York, New York                            SO ORDERED:

________________, 2024

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                                                     GEORGE B. DANIELS
                                                     United States District Judge




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